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April 30, 2025

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Honorable John G. Koeltl 2h / ow Powelecs ’
Southern District of New York ; e Oe .
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New York, NY 10007 ~ 40 i
Re: Diaz v. Avilés-Ramos et ano,, 25-cv-1241-JGK & Eo ERA En et

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Dear Judge Koeltl: gy / gL om OLG St ii Sp os
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This office represents Defendants Melissa Avilés-Ramos, in her official capacity as
Chancellor of the New York City Department of Education, and the New York City Department of
Education in the above-captioned matter. On April 17, 2025, the Court issued an order directing
the parties to submit a Rule 26(f} report by May 1, 2025. ECF 10. I respectfully write jointly with
opposing counsel to inform the Court that no discovery will be necessary in this matter and instead
request a schedule to brief motions for summary judgment.

Parties also respectfully request the Court to waive Rule 56.1 statements because the
inquiry here is not whether there are disputed issues of fact. While in IDEA actions “the parties
and the court typically style the decision as a ruling on a motion for summary judgement, [] ‘the
procedure is in substance an appeal from an administrative determination, not a summary
judgement motion.’” Bd. Of Educ. v. CS., 990 F.3d 156,165 (2d Cir. 2021) (quoting M.H. v. N.XC.
Dep t of Educ., 685 F.3d 217,226 (2d Cir. 2012). Because the Parties’ motions will be based solely
on the administrative record, the parties jointly and respectfully request that the Court waive the
submission of 56.1 statements.

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Respectfully, Parties also request the Court to cancel the telephonic initial pretrial
conference scheduled for 2:30 p.m. on July 1, 2025, and in lieu of the Rule 26(f) report, propose
the following briefing schedule for the Parties’ anticipated summary judgment motions:

June 12, 2025: Plaintiff to file their motion for summary fudgement
July 11, 2025: Defendants to file their opposition and cross-motion for summary judgement
August 8, 2025: Plaintiffs to file their reply and opposition to Defendants’ cross-motion
August 22, 2025: Defendants to file their reply
Thank you for Your Honor’s consideration of this request.

Respectfully submitted,

/s/ Jaimini Vyas
Jaimini A. Vyas
Assistant Corporation Counsel

ce; Plaintiffs’ counsel (via ECF)

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